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1    Joshua Briones (SBN 205293)
     jbriones@mintz.com
2    E. Crystal Lopez (SBN 296297)
     eclopez@mintz.com
3    Matthew Novian (SBN 324144)
     mjnovian@mintz.com
4    MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
     Century Plaza Towers 2029 Century Park East Suite 3100
5    Los Angeles, CA 90067
     Telephone: 310 586 3200
6    Facsimile: 310 586 3202
7    Attorneys for Defendant,
     EF EDUCATION FIRST, INC.
8

9                       UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
     SHANNON SENSIBAUGH, individually          Case No.: 2:20-cv-01068-MWF-PVC
12
     and on behalf of all other similarly
                                               DEFENDANT EF EDUCATION
13   situated,
                                               FIRST, INC.’S MEMORANDUM
14                           Plaintiff,        OF POINTS AND AUTHORITIES
                                               IN SUPPORT OF MOTION TO
15
          vs.                                  STAY THE ACTION PENDING
16                                             BARR V. AAPC
     EF EDUCATION FIRST, INC.
17
                                               Hon. Michael W. Fitzgerald
                             Defendant.
18
                                               Date:      April 6, 2020
19
                                               Time:      10:00 a.m.
20                                             Dept:      Courtroom 5A
21
                                               Complaint Filed: February 2, 2020
22

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          DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
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1    I.       INTRODUCTION
2             The Supreme Court is currently considering whether 47 U.S.C. §
3    227(b)(1)(A)(iii) of the Telephone Consumer Protection Act (“TCPA”) is
4    constitutional. See Barr v. American Association of Political Consultants Inc., 19-
5    631 (Cert. Granted January 10, 2020, Oral Argument April 22, 2020) (hereinafter
6    “AAPC”). Recognizing that AAPC may cause a “total collapse of the TCPA” courts
7    have issued stays in identical TCPA matters. Seefeldt v. Entertainment Consulting
8    Int’l, LLC, No. 4:19-cv-00188, 2020 U.S. Dist. LEXIS 31815, *8 (E.D. Mo. Feb. 25,
9    2020); Wright v. Exp Realty, LLC, No. 6:18-cv-1851, Dkt. 96, p. 2 (M.D. Fla. Feb. 7,
10   2020) (J. Byron, Paul G.)1 (“[A]ny proceedings before the Supreme Court issues
11   guidance in the upcoming Barr v. Am. Ass’n will be—among other things—a waste
12   of judicial resources and a waste of the parties’ time and energy.”).
13            In AAPC the Supreme Court will determine whether the government-debt
14   exception found in 47 U.S.C. § 227(b)(1)(A)(iii) violates the First Amendment, and
15   “more importantly . . . whether the proper remedy was to sever the offending
16   exception from the TCPA, leaving the remainder of the TCPA intact.” Seefeldt, 2020
17   U.S. Dist. LEXIS 31815, *5. Respondents (AAPC), who also sought certiorari,
18   argue the Fourth Circuit should have invalidated and severed Section
19   227(b)(1)(A)(iii) from the TCPA, not just the portion of Section 227(b)(1)(A)(iii)
20   pertaining to the government-debt exception. If Respondents are correct, and the
21   proper remedy is to invalidate 47 U.S.C. § 227(b)(1)(A)(iii) in its entirety, then
22   automated texts to cellular phones would not violate the TCPA. Here, Plaintiff’s only
23   cause of action alleges that the text sent to her cellular phone violates 47 U.S.C. §
24   227(b)(1)(A)(iii). If the Supreme Court agrees with Respondents in AAPC, Plaintiff
25   loses her only cause of action.
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         Request for Judicial Notice (“RFJN”), Ex. A.
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     DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION STAY
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1          Defendant respectfully requests that this Court follow Seefeldt and Wright and
2    exercise its inherent authority to stay this case. Staying the case will preserve the
3    parties’ and the Court’s resources.
4    II.   FACTS AND BACKGROUND
5          A.     Plaintiff’s Class Action Complaint
6          Plaintiff alleges a single cause of action against Defendant for violation of 47
7    47 U.S.C. § 227(b)(1)(A)(iii). Complaint (“Compl.”) ¶ 38. Specifically, Plaintiff
8    alleges that Defendant contacted her using an automatic telephone dialing system
9    (“ATDS” or “autodialer”) without her consent. Id. ¶ 16. Plaintiff affirmatively
10   alleges that her “1529 Number is . . . assigned to a cellular telephone service as
11   specified in 47 U.S.C. § 227(b)(1)(A)(iii).” Id. ¶ 10 (emphasis added). If Section
12   227(b)(1)(A)(iii) is unconstitutional, Plaintiff’s single cause of action fails without
13   question.
14         In connection with this claim, Plaintiff alleges that EF Education First, Inc.
15   sent “multiple text messages to Plaintiff’s 1529 number and at least one text message
16   (that was identical to or substantially the same as those received by Plaintiff) to each
17   member of the putative Class.” Compl. ¶ 11. Specifically, on January 6, 2020,
18   Plaintiff allegedly received the following text message “EF Ultimate Break: Our Year
19   of You Sale ends Thursday. Don’t miss the best trip deals of 2020:
20   https://efultimatebreak.com/yearofyou. Txt stop to unsubscribe.” Id. ¶ 13.
21         B.     Barr v. American Association of Political Consultants: Procedural
22                History and Issues Now Before The Supreme Court
23         The TCPA, generally bans the use of any “automatic telephone dialing system
24   or an artificial or prerecorded voice” to “make any call” to “any telephone number
25   assigned to a paging service, cellular telephone service . . . unless such call is made
26   solely to collect a debt owed to or guaranteed by the United States.” 47 U.S.C.
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     DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION STAY
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1    227(b)(1)(A)(iii).2 As discussed below, on April 24, 2019 the Fourth Circuit
2    invalidated the government-debt exception, but not the entirety of section
3    (b)(1)(A)(iii), which captures texts to cellular telephones if made with an ATDS. If
4    the proper remedy is invalidating 47 U.S.C. § 227(b)(1)(A)(iii) in its entirety, as
5    opposed to severing 47 U.S.C. § 227(b)(1)(A)(iii)’s government-debt exception, then
6    automated texts to cellular phones would not violate the TCPA.
7                       1.   AAPC, District Court and Fourth Circuit Opinion
8             AAPC [Plaintiffs in the District Court, Petitioners to the Fourth Circuit, and
9    now Respondents before the Supreme Court] are an association of political
10   consultants (and various political organizations) who wish to use an ATDS to make
11   calls and place text messages to the cell phones of potential or registered voters to
12   solicit political donations. D. Ct. Dkt., at 18 (“AAPC FAC”) 3 ¶¶ 8-12.4 In 2016,
13   Plaintiffs sued the Attorney General and the FCC in federal district court, alleging
14   that “the ban on certain calls to cell phones, 47 U.S.C. § 227(b)(1)(A)(iii)
15   (hereinafter the “cellphone ban”), is an unconstitutional violation of their First
16   Amendment rights because it is content-based and cannot withstand strict
17   scrutiny.” Id. at ¶ 2 (emphasis added). AAPC also alleged that the government-debt
18   exception to the autodial ban effects an impermissible form of content-based
19   discrimination, in violation of the First Amendment. Id. at ¶¶ 13-14, 36-63. AAPC
20   argued that the appropriate remedy for the alleged constitutional violation was to
21

22   2
      In 2015, Congress amended the TCPA to create an additional exception for calls “made solely to
     collect a debt owed to or guaranteed by the United States.” 47 U.S.C. 227(b)(1)(A)(iii).
23
     3
         RFJN, Ex. B.
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     4
       “AAPC members would make these calls to persons who did not provide prior express consent to
25   them using an automatic telephone dialing system (“ATDS”), artificial or prerecorded voice but
     for the cell phone call ban and the credible threat and potential for prosecution by the federal
26   government, states, or private persons or classes of persons.” Compl. ¶ 8 (emphasis added).
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     DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION STAY
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1    invalidate the ban on use of an ATDS in its entirety, not severance of the
2    government-debt exemption alone. D. Ct. Dkt. 36 (AAPC’s Response in Opposition
3    to Cross Motion for Summary Judgment),5 at p. 8 (“Severance of the existing
4    content-based exemptions would not cure the cell phone call ban’s
5    unconstitutionality and contradicts long-standing First Amendment
6    jurisprudence that more speech, rather than less speech, is the goal of this
7    constitutional protection.”) (emphasis added). If the District Court granted this
8    remedy, AAPC would be allowed to text cellphones using an ATDS.
9            The Eastern District of North Carolina granted summary judgment in favor of
10   the FCC and the Attorney General. American Assn. of Political Consultants, Inc. v.
11   Sessions, 323 F. 3d 737 (E.D.N.C. 2018). The court rejected AAPC’s claim that the
12   TCPA violates the First Amendment. Id. at 743,
13           The Fourth Circuit agreed with the District Court that the government debt
14   exception “facially distinguishes between phone calls on the basis of their content”
15   and therefore is subject to strict scrutiny. American Assn. of Political Consultants,
16   Inc. v. Federal Communications Commission, 923 F. 3d 159, 166 (4th Cir. 2019).
17   Unlike the District Court, however, the Court of Appeals determined that the
18   government-debt exception “fails strict scrutiny review.” Id. at 167. The Court
19   concluded that the government-debt exception renders the autodial ban “fatally
20   underinclusive” “by authorizing many of the intrusive calls that the [autodial] ban
21   was enacted to prohibit,” and by “imped[ing] the privacy interests of the [autodial]
22   ban.” Id. at 168. The court therefore held that the government-debt exception
23   “violates the Free Speech Clause.” Id. at 170. Turning to the question of the
24   appropriate remedy, the court of appeals directed that the government-debt exception
25   be severed from the rest of the TCPA, leaving the autodial ban intact. Id. at 170. The
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         RFJN, Ex. C;
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     DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION STAY
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1    court explained that severance was the appropriate remedy in light of both the
2    “general rule” in favor of “partial” invalidation. Id. This is the wrong remedy.
3                   2.     Issues Currently Before the Supreme Court
4             Even though AAPC “won” on appeal, it disagreed with the Fourth Circuit’s
5    opinion and sought certiorari to “review the remedial question” such that the Supreme
6    Court would “invalidate[] and severe[] Section 227(b)(1)(A)(iii)” and not just the
7    government-debt exemption. Barr v. American Association of Political Consultants
8    Inc., Respondent’s Brief, No. 19-511 (filed December 4, 2019)6 at pp. 17, 19.7 As
9    Respondents make clear, the issue at hand relates to the constitutionality of the
10   TCPA’s restriction on automated calls under Section 227(b)(1)(A)(iii):
11             It is black-letter law that when a statutory provision violates the
12
              Constitution, it must be invalidated. See, e.g., Free Enter., 561 U.S. at
              508. The severability doctrine addresses whether other portions of a
13            statute—which are perfectly constitutional on their own—must
14
              nonetheless also be invalidated because of their relationship to the
              unconstitutional provision. As this Court has explained: “‘Generally
15            speaking, when confronting a constitutional flaw in a statute, we try to
16            limit the solution to the problem,’ severing any ‘problematic portions
              while leaving the remainder intact.’” Id. (citation omitted).
17

18            Here, respondents challenged the TCPA’s restriction on automated calls,
              47 U.S.C. § 227(b)(1)(A)(iii). See supra at 8, 10; see also C.A.J.A. 141 ¶
19            2 (specifically identifying Section 227(b)(1)(A)(iii) as the “cell phone
20            call ban” being challenged in this action). That restriction is the
              “problematic portion[]” of the statute that violates the First
21            Amendment’s prohibition on “abridging” speech. Free Enter., 561
22            U.S. at 508 (citation omitted); U.S. Const. amend. I. The restriction
              must therefore be set aside.
23            …
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         RFJN, Ex. D.
26   7
       This is the same request AAPC made before the District Court in 2017: “The proper remedy is to
     allow more speech and speakers by striking the cell phone call ban and allowing the FCC or Congress
27   to use other narrowly tailored, or content-neutral, means to protect residential privacy.” D. Ct. Dkt.
     36, at 8.
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                                                       5
     DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION STAY
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1             Instead of expanding the TCPA’s prohibition of speech, the Fourth
2
              Circuit should have invalidated and severed Section 227(b)(1)(A)(iii),
              leaving the TCPA’s other provisions—regulating other types of
3             communications—intact. That approach would have implemented this
4
              Court’s settled severability doctrine while also heeding the
              Communications Act’s “Separability” provision, which directs that if any
5             part of the TCPA “is held invalid, the remainder of the [statute] . . . shall
6             not be affected thereby.” 47 U.S.C. § 608.

7    Respondent’s Brief at 17, 19 (emphasis added).8
8             In Petitioners appeal, the Attorney General asks the Supreme Court to
9    reverse the Fourth Circuit’s opinion and find that the government-debt
10   exemption does not violate the First Amendment.
11            Now, the Supreme Court will decide “whether the government-debt exception
12   to the [TCPA’s] automated-call restriction violates the First Amendment” and also
13   “whether the proper remedy for any constitutional violation is to sever the exception
14   from the remainder of the statute.” See Question Presented in Barr v. American
15   Association of Political Consultants Inc., 19-631.9 The constitutionality of Section
16   227(b)(1)(A)(iii) is under review.
17            C.        AAPC’s Progeny: Duguid v. Facebook
18
              In June 2019, the Ninth Circuit followed AAPC and found that the debt-
19
     collection exemption was unconstitutional and severed it from the TCPA:
20
              As to the constitutional question, we join the Fourth Circuit and hold that
21            a 2015 amendment to the TCPA, which excepts calls “made solely to
              collect a debt owed to or guaranteed by the United States,” is content-
22
              based and incompatible with the First Amendment. [citing, AAPC]. But
23            rather than toss out the entire TCPA—a longstanding and otherwise
              constitutional guardian of consumer privacy—we sever the newly
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         RFJN, Ex. D.
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         RFJN, Ex. E.
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1           appended “debt-collection exception” as an unconstitutional restriction on
2
            speech.

3    Duguid v. Facebook, Inc., 926 F. 3d 1146, 1149 (9th Cir. 2019) (Cert. Petition Filed,
4    Oct. 21, 2019, No. 19-511).10
5           In October 2019, Facebook filed a Writ of Certiorari seeking review of the
6    same ATDS provision: 11
7           While the Ninth Circuit was eminently correct to recognize that the
8
            TCPA’s content-based prohibition on ATDS calls was unconstitutional, it
            then made a critical misstep. The Ninth Circuit proceeded as if all that
9           was unconstitutional was the speech-permitting government-debt-
10          collection exception, rather than the speech-abridging prohibition on
            ATDS calls. App.15 (condemning “the debt-collection exception— not
11          … the TCPA overall”). Thus, based on the mistaken premise that the
12          government-debt-collection exception was what was unconstitutional, the
            Ninth Circuit proceeded to analyze whether the exception could be
13          “severed” from the statute, rather than whether the prohibition should be
14          invalidated. App.19-20. The Ninth Circuit breezily concluded that the
            government-debt-collection exception could be severed without doing
15          damage to “the fundamental purpose of the TCPA” since the exception
16          was a relatively recent addition to the statute and because the TCPA
            includes a severability provision. App.19-20.
17

18   Appellant’s Certiorari petition at 15-16.12

19

20   10
        Other district courts have followed the trend set by the Fourth and Ninth Circuits by severing the
     exemption from statute. See Rosenberg v. LoanDepot.com LLC, No. 19-10661-NMG, 2020 U.S. Dist.
21   LEXIS 11928 (D. Mass. Jan. 24, 2020) (“for broadly similar reasons as discussed by the Fourth and
     Ninth Circuits, this Court concludes that the unconstitutional government debt collection exception
22   in severable. See Duguid, 926 F.3d at 1156–57; American Ass'n of Political Consultants, 923 F.3d at
     170–71.”).
23
     11
       Recognizing the importance of the issues under review, parties in at least one other district court of
24   California have stipulated to a stay pending the Supreme Court’s certiorari decision in Duguid. See
     Brickman v. Facebook Inc., 3:16-cv-00751-WHO, Dkt. 127 (N.D. Cal. Jan. 30, 2020) (“Upon
25   consideration of the parties’ Stipulation . . . the Court finds that good cause for the requested stay has
     been shown.”) See RFJN, Ex. F.
26
     12
       The issues presented by Facebook on appeal are: “(1) Whether the Telephone Consumer Protection
27   Act of 1991’s prohibition on calls made using an ‘automatic telephone dialing system’ is an
     unconstitutional restriction of speech, and if so whether the proper remedy is to broaden the
28
                                                         7
     DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION STAY
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1             In addition to severance of 47 U.S.C. § 227(b)(1)(A)(iii) as a whole, Facebook
2    asks the Supreme Court to resolve a circuit split also at issue here.13 See Gadelhak v.
3    AT&T Services, No. 19-1738 (7th Cir. Feb. 19, 2020); Glasser v. Hilton Grand
4    Vacations, Case No. 18-14499, 2020 U.S. App. LEXIS 2481 (11th Cir. Jan. 27,
5    2020); Dominguez v. Yahoo, 894 F.3d 116, 120 (3d Cir. 2018); c.f. Marks v. Crunch
6    San Diego, 904 F.3d 1041, 1049 (9th Cir. 2018). Resolution of AAPC, however, may
7    obviate the need to review Duguid. See Seefeldt, 2020 U.S. Dist. LEXIS 31815, *8-
8    *9 (“It seems likely that [AAPC], at minimum, will come this term (oral argument has
9    been set for April 22, 2020), which may or may not be a reason why the decision on
10   certiorari in Duguid remains pending.”).
11            The Supreme Court held a conference on Facebook’s petition on January 24,
12   2020 but has neither denied review nor formally relisted the case. Supreme Court
13   Docket in Facebook v. Duguid, 19-511.14 Similarly, when the Supreme Court
14   convened to meet regarding Charter Communications Inc. v. Gallion, 287 F.Supp.3d
15   920 (9th Cir. 2019) (Cert. Petition Filed Nov. 1, 2019, No. 19-575), which raises
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17

18   prohibition to abridge more speech; and (2) whether the definition of ATDS in the TCPA
     encompasses any device that can ‘store’ and ‘automatically dial’ telephone numbers, even if the
19   device does not ‘us[e] a random or sequential number generator.’ While the first issue presented by
     Duguid is in line with AAPC the second issue seeks resolution on separate Circuit split facing the
20   TCPA bar.
21   13
        Recognizing that the grant of certiorari on this issue will be outcome determinative, at least one
     court has indicated that a stay pending Supreme Court review of these issues may be warranted. See
22   Stanley v. Capital One Financial Corp., No. 7:19-cv-00337, 2020 U.S. Dist. LEXIS 2407, (W.D. Va.
     Jan. 8, 2020) (“If, however, the Supreme Court grants the petition for certiorari in Duguid and the
23   parties believe the Supreme Court's ruling will be necessary to the resolution of this case, either party
     may file a subsequent motion to prevent relitigating issues either at trial or on appeal.”). The Stanley
24   Court denied Defendant’s motion to stay pending forthcoming FCC guidance two days before the
     Supreme Court granted certiorari in AAPC. Stanley’s invitation to the parties to refile “a subsequent
25   motion to prevent relitigating issues either at trial or on appeal” if the Supreme Court grants certiorari
     in Duguid indicates that the Court would have been inclined to grant a stay under the current
26   circumstances.
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          RFJN, Ex. G.
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     DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION STAY
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1    similar issues, it did not deny review or formally relist that case either.15 All the
2    while, the Supreme Court has denied hundreds of certiorari petitions in 2020. See
3    Order List: 589 U.S., Monday January 27, 2020, Certiorari – Summary Disposition.16
4    The Court is likely holding off on reviewing the petitions in Duguid and Gallion
5    while it decides the constitutionally of Section 227(b)(1)(A)(iii) in Barr – a finding
6    that the TCPA violates the First Amendment would obviate the need to review either
7    Duguid or Gallion.
8    III.     THE CASE MUST BE STAYED PENDING THE SUPREME COURT’S
9
              DECISION IN AAPC

10            Recognizing the Supreme Court may invalidate the autodial ban in its entirety,
11   within the last several weeks courts have granted stays pending AAPC in identical
12   TCPA cases. Seefeldt, 2020 U.S. Dist. LEXIS 31815; RFJN Ex. A (Wright, et al. v.
13   EXP Realty, LLC, No. 18-cv-01851, M.D. Fla., Dkt. # 96). As here, plaintiffs in both
14   Seefeldt and Wright allegedly received marketing calls (sent with an ATDS) in
15   violation of 47 U.S.C. § 227(b)(1)(A)(iii). Notably, neither Wright nor Seefeldt
16   concerns the government debt exception. Because of the importance of the issues
17   before the Supreme Court, and their effect on the pending cases, both courts granted
18   stays. “[W]hat the Supreme Court has accepted review of – particularly, whether the
19   government-debt exception is severable from the TCPA if deemed unconstitutional –
20   risks a potential total collapse of the TCPA without regard to the definitional
21   problem,” concluded the Seefeldt court. Seefeldt, 2020 U.S. Dist. LEXIS 31815 at
22

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     15
        The issues presented by Gallion are: “Whether the Telephone Consumer Protection Act’s
24   prohibitions on calls made using an automatic dialing system or an artificial or prerecorded voice are
     unconstitutional content-based restrictions of speech, and if so whether the U.S. Court of Appeals for
25   the 9th Circuit erred in ‘remedying’ that constitutional violation by broadening the prohibitions to
     abridge more speech.” Charter Communications Inc. v. Gallion, Appellant’s Petition for Cert.
26   pending, No. 19-575 (December 1, 2019) (Ex. H to RFJN)
27   16
          RFJN, Ex. I.
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                                                       9
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1    *8. Likewise, the Wright court held that AAPC has the “‘potential to moot this
2    action, as the Supreme Court is reviewing whether the statute on which Plaintiff relies
3    – the TCPA – is unconstitutional.’ . . . The Court believes that any proceedings before
4    the Supreme Court issues guidance in the upcoming Barr v. Am. Ass’n will be—
5    among other things—a waste of judicial resources and a waste of the parties’ time
6    and energy.” RFJN Ex. A, p. 2 (emphasis added).17 The same is true here—
7    allowing this case to continue where Plaintiff’s only claim may not exist in a matter
8    of months would waste time and resources.
9           Like the Seefeldt and Wright courts, this Court should stay this case in the
10   exercise of its own discretion. See, e.g., Miller v. Directv, LLC, No. 14-07579, 2015
11   U.S. Dist. LEXIS 187115, at *3 (C.D. Cal. Jan. 8, 2015). Discretion to stay a case is
12   appropriately exercised when the resolution of another matter will have a direct impact
13   on the issues before the Court, thereby substantially simplifying the issues presented.
14   See Mediterranean Enters. v. Ssangyong Corp., 708 F.2d 1458 (9th Cir. 1983). A
15   district court “may, with propriety, find it is efficient for its own docket and the fairest
16   course for the parties to enter a stay of an action before it, pending resolution of
17   independent proceedings which bear upon the case.” Leyva v. Certified Grocers of
18   Cal. Ltd., 593 F.2d 857, 863 (9th Cir. 1979).
19          The factors district courts weigh in deciding whether to grant a request for a
20   stay are: “[1] the possible damage which may result from the granting of a stay, [2]
21   the hardship or inequity which a party may suffer in being required to go forward,
22   and [3] the orderly course of justice measured in terms of the simplifying or
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        The Wright Court previously denied the defendant’s request for a stay pending forthcoming FCC
26   guidance on the definition of an ATDS. Wright v. Exp Realty, LLC, 6:18-cv-1851, 2019 U.S. Dist.
     LEXIS 96516 (M.D. Fla. June 7, 2019). Id. at 4-5. Six months following this order, the same Court
27   issued a stay recognizing that allowing the case to proceed would be wasteful as AAPC could
     invalidate the statute in its entirety.
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                                                    10
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1    complicating of issues, proof, and questions of law which could be expected to result
2    from a stay.” Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005).
3           Weighing these factors, courts in the Ninth Circuit have not hesitated to grant a
4    stay pending the Supreme Court’s review on a dispositive issue:
5         Here, Defendant moves to stay the action pending the Supreme Courts
6
          review of the Ninth Circuits decision in Spokeo upon which the Court
          squarely relied in granting class certification of the FCRA class. Given
7         that the Supreme Court's decision in Spokeo may directly impact the
8
          Court’s class certification ruling, the Landis factors weigh strongly in
          favor of staying this action pending the Spokeo decision. The possible
9         prejudice to Plaintiff that will result from a stay is minimal, as
10        the Spokeo decision will likely be issued within a year per the
          Supreme Courts customary practice. Further, as explained by
11        Defendant, and not disputed by Plaintiff, Defendant has modified the
12        conduct about which Plaintiff complains so there is no need to
          proceed with trial to obtain immediate injunctive relief . . . In contrast
13        to the lack of prejudice to Plaintiff and the class, in light
14        of Spokeo's potential impact on the class certification order, Defendant
          faces the risk of unnecessary proceedings and expenses if the case is
15        not stayed: given the current schedule, absent a stay this case will be
16        resolved through either trial or summary judgment prior to the Supreme
          Court's ruling.
17   Ramirez v. Trans Union, LLC, No. 12-cv-00632-JSC, 2015 LEXIS 80692, at *2 (N.D.
18   Cal. June 22, 2015) (emphasis added).18
19                  1.     No Damage Will Result from the Court Entering a Stay of this
                           Action
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            This action is in its infancy and neither party has expended truly significant
21
     time or effort in the prosecution and defense of the case. Seefeldt, 2020 U.S. Dist.
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       The Ramirez Court granted the stay pending the Supreme Court’s decision in Spokeo. In opposition
     to this motion, Plaintiff will likely point to opinions where stays were denied pending Spokeo. Those
25   opinions denied the stay on the basis that while the Supreme Court's decision in Spokeo would provide
     guidance regarding what constitutes actual harm for purposes of Article III standing, it would not
26   immediately dispose of the entire case. Here, by contrast, AAPC concerns the constitutionality of the
     TCPA. If 47 U.S.C. § 227(b)(1)(A)(iii) is found unconstitutional, Plaintiff loses her only cause of
27   action. There is no question that the decision in AAPC will directly impact this litigation.
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                                                      11
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1    LEXIS 31815, *11 (“A (relatively) young case, at least from the standpoint of
2    litigation efforts, if not time alone, favors staying this action.”).19 A stay would not
3    disrupt proceedings at this stage, but rather would promote efficiency in light of the
4    dispositive issue before the Supreme Court. Plaintiff cannot credibly articulate any
5    harm (aside from the potential delay in receipt of statutory damages) from what is
6    likely going to be a brief stay.
7           First, there is no risk of an indefinite delay. Seefeldt, 2020 U.S. Dist. LEXIS
8    31815, *8-*9 (“It seems likely that [AAPC], at minimum, will come this term (oral
9    argument has been set for April 22, 2020).”) (emphasis added). Additionally,
10   courts in the Ninth Circuit have stayed cases for nearly a year where dispositive
11   issues are pending before the Supreme Court. Ramirez, 2015 LEXIS 80692, at *2
12   (“The possible prejudice to Plaintiff that will result from a stay is minimal, as the
13   Spokeo decision will likely be issued within a year per the Supreme Court's
14   customary practice.”); See Chattanond v. Discover Fin. Servs., LLC, No. 15-08549,
15   2016 U.S. Dist. LEXIS 24700, at *10 (C.D. Cal. Feb 26, 2016) (“It would be
16   burdensome for both parties to spend much time, energy, and resources on pretrial
17   and discovery issues, only to find those issues moot within less than a year.”). Here,
18   as in Ramirez, the length of the stay is minimal because a decision in AAPC will
19   likely be issued within a year (or less) per the Supreme Court's customary practice.
20   Thus, the proposed stay will be short.
21          Additionally, Defendant has implemented a litigation hold and there is no risk
22   of losing discoverable materials. After the Supreme Court issues its decision in
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     19
        See also St. Louis Heart Center, Inc. v. Athenahealth, Inc., No. 4:15-cv-01215, 2015 U.S. Dist.
26   LEXIS 150776 (E.D. Mo. Nov. 4, 2015) (Staying TCPA case pending Supreme Court decision and
     finding “this case is still very young. The parties have conducted little, if any, discovery; and other
27   than the instant motions, no substantive issues have been or are scheduled to be litigated. Thus, staying
     the case now would not significantly disrupt the litigation process.”)
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                                                        12
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1    AAPC and this Court lifts the stay, all discoverable materials that Plaintiff seeks will
2    still be available.
3           Finally, delay in the potential receipt of statutory damages, what Plaintiff
4    seeks, is not a sufficient reason to justify denial of a stay. See CMAX, Inc. v. Hall,
5    300 F.2d 265, 268–69 (9th Cir. 1962) (holding that a delay in a party’s pursuit of
6    money damages is insufficient to support denial of a stay of proceedings). Nor does a
7    claim for injunctive relief warrant the denial of a stay where the alleged wrongful
8    conduct has already ceased. See Reynolds v. Time Warner Cable, Inc., No. 16-CV-6
9    165W, 2017 U.S. Dist. LEXIS 10462, at *2 (W.D.N.Y. Jan. 25, 2017); Ramirez v.
10   Trans Union, LLC, No. 12-cv-00632-JSC, 2015 LEXIS 80692, at *2 (N.D. Cal. June
11   22, 2015) (“Defendant has modified the conduct about which Plaintiff complains so
12   there is no need to proceed with trial to obtain immediate injunctive relief.”). Plaintiff
13   provides no reason to believe that the conduct complained of will continue and instead
14   alleges “on information and belief” that the violations are “substantially likely” to
15   continue. Compl. ¶ 25.
16                  2.     EF Will Suffer Hardship or Inequity if this Case Is Not Stayed
17          If a stay is not granted, EF—and Plaintiff, for that matter—will suffer harm
18   in the form of potentially unnecessary fees and costs spent litigating an entire class
19   action that may be moot shortly. Lopez v. American Express Bank, FSB, No. 09-
20   cv-07335, 2010 U.S. Dist. LEXIS 101476, *13 (C.D. Cal. Sept. 17, 2010) (“The
21   Defendants will suffer substantial hardship if this action is permitted to go forward.
22   They will incur significant costs relating to fact and expert discovery, motion
23   practice, and trial preparation to defend this action.”); Ramirez, 2015 LEXIS 80692,
24   at *4 (“Defendant faces the risk of unnecessary proceedings and expenses if the
25   case is not stayed.”).20 If 47 U.S.C. § 227(b)(1)(A)(iii) is invalidated in its entirety,
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27   20
       Indeed, Courts have found that litigation expense is sufficient to demonstrate actual prejudice that
     justifies a stay. See Chattanond, 2016 U.S. Dist. LEXIS 24700, at *10 (“[H]ardship to Defendant
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                                                      13
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1    Plaintiff loses her only claim.
2           Plaintiff wishes to certify a single class premised on 47 U.S.C. § 227(b)
3    (requiring an ATDS). In the event this case is not stayed, Plaintiff will no doubt
4    pursue discovery with respect to the lone cause of action in this case and the class
5    she is attempting to certify. It makes little sense to move forward with this case and
6    discovery (including class and expert discovery) when the Supreme Court may find
7    that Section 227(b)(1)(A)(iii) is unconstitutional. Seefeldt, 2020 U.S. Dist. LEXIS
8    31815, *10-*11 (issuing a stay pending AAPC “to avoid exhausting judicial
9    resources to decide things like . . . possible discovery-related matters or summary
10   judgment motions to follow which may prove fruitless.”).
11          If this case is not stayed, it is possible that EF may be forced to litigate, for
12   months, only to have the Supreme Court issue an order that will dispose of this
13   action. Significant resources, including the Court’s, could be wasted if an order
14   invalidating the cell-phone ban under Section 227 (b)(1)(A)(iii) is issued. The risk
15   is not abstract – Respondents in AAPC are asking the Court to invalidate the
16   autodial ban in its entirety. If the Supreme Court agrees with Respondents, this
17   action would have to be dismissed because a legal basis for Plaintiff’s claim would
18   no longer exist.
19                  3.     A Stay Will Enhance the Orderly Course of Justice
20          Granting a stay will serve the orderly course of justice and conserve judicial
21   resources. Seefeldt, 2020 U.S. Dist. LEXIS 31815, *8-*9 (finding a “stay is
22   appropriate . . . to avoid exhausting judicial resources.”); RFJN Ex. A, p. 2 (“any
23   proceedings before the Supreme Court issues guidance in the upcoming Barr v. Am.
24

25
     and considerations of judicial economy weigh in favor of a stay. If the case is not stayed, Defendant
26   will suffer hardship in conducting discovery and trial preparation. . .”.); Mackiewicz v. Nationstar
     Mortg., LLC, No. 6:15-cv-465, 2015 U.S. Dist. LEXIS 180770, at *3 (M.D. Fla. Nov. 10, 2015)
27   (granting the defendant’s motion to stay in part because “a stay would reduce the burden of litigation
     on the parties and the Court.”).
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                                                      14
     DEFENDANT’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION STAY
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1    Ass’n will be—among other things—a waste of judicial resources and a waste of
2    the parties’ time and energy.”) (emphasis added). Where a Supreme Court decision
3    will simplify issues for a district court, the orderly course of justice is enhanced.
4    Carney v. Verizon Wireless Telecom, Inc., No. 09-cv-1854, 2010 U.S. Dist. LEXIS
5    77636, at *8 (S.D. Cal. 2010) (granting a stay and finding “the Supreme Court’s
6    decision in Concepcion will simplify the present issue in this case.”); Lopez, 2010
7    U.S. Dist. LEXIS 101476, *14 (“It would be burdensome for both parties to spend
8    much time, energy, and resources on pre-trial and discovery issues, only to find those
9    issues moot within less than a year. The public interest in preserving judicial
10   resources also weighs in favor of staying the case.”).
11         Plaintiff seeks to hold EF liable for allegedly texting her cellular telephone
12   using an ATDS. If the Supreme Court finds the Congressional ban against using an
13   ATDS violates the first amendment, then Plaintiff’s only claim against Defendant
14   becomes a nullity. Any ruling that the Court issues on the merits of this case may
15   have to be revisited after the Supreme Court issues its order. Waiting until the
16   Supreme Court answers this dispositive issue—which could necessitate immediate
17   dismissal—is the most prudent course of action.
18   IV.   CONCLUSION
19         Simply put, if the Supreme Court invalidates 47 U.S.C. § 227(b)(1)(A)(iii) in
20   its entirety, then automated texts to cellular phones would not violate the TCPA.
21   Plaintiff’s only cause of action complains of a text message sent to her cell phone. A
22   short stay will not prejudice Plaintiff; rather, it will conserve the parties’ resources
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1    and the Court’s time. For these reasons, this Court should grant a stay pending the
2    outcome of AAPC v. Barr.
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4

5
     Dated: February 28, 2020            Respectfully submitted,

6
                                         MINTZ LEVIN COHN FERRIS GLOVSKY
                                         AND POPEO P.C.
7

8
                                          /s/ E. Crystal Lopez
9                                        By: Joshua Briones
10                                           E. Crystal Lopez
                                             Matthew Novian
11

12                                            Attorneys for Defendant,
                                              EF EDUCATION FIRST, INC.
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